
PER CURIAM.
We reverse the order awarding attorney’s fees to Blayne Sites pursuant to section 57.105, Florida Statutes (1976), because the position taken by the Mertenses was not frivolous or entirely devoid of even arguable substance. Whitten v. Progressive Cas. Ins. Co., 410 So.2d 501 (Fla.1982). See also Glover v. School Board of Hillsborough County, 462 So.2d 116 (Fla. 2d DCA 1985), and Allen v. Estate of Dutton, 384 So.2d 171 (Fla. 5th DCA 1980).
Reversed.
HERSEY, C.J., and LETTS and WALDEN, JJ., concur.
